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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MARVIN CARTER,                                  )
                                                )
                                                )
                    Plaintiff,                  )
                                                )
                                                )
                                                )
       v.                                       )   Case No. 17-3690
                                                )
                                                )
JOHN R. BALDWIN, TIM                            )   JURY DEMANDED
CHAMBERLAIN, CHRISTOPHER R.                     )
BARNHART, LISA MINTER, SHERRY                   )
BENTON, LASHARD CAMERON, JANET                  )
WHEAT, MAX BLACKBURN, and                       )
WEXFORD HEALTH SOURCES, INC.                    )
                                                )
                                                )
                    Defendants.                 )
                                                )
                                                )


                                         COMPLAINT

       Plaintiff Marvin Carter asserts the following claims against Defendants John R. Baldwin,

Dr. Tim Chamberlain, Lisa Minter, Sherry Benton, Lashard Cameron, Janet Wheat, Christopher

R. Barnhart, Max Blackburn, and Wexford Health Sources, Inc. (“Wexford”). Pursuant to 42

U.S.C. § 1983, Mr. Carter alleges Defendants Baldwin (in his official capacity as Acting

Director of the Illinois Department of Corrections), Chamberlain, Minter, Benton, Cameron,

Wheat, Barnhart, Blackburn and Wexford, all of whom were acting under color of State law,

deprived him of his rights and privileges while he was incarcerated in Dixon Correctional Center

(“Dixon”), an Illinois state prison under the supervision of the Illinois Department of Corrections



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(the “Department” or “IDOC”). Pursuant to the Americans with Disabilities Act (42 U.S.C. §

12101 et seq.) and the Rehabilitation Act (29 U.S.C. § 701 et seq.), Mr. Carter alleges he is a

qualified person with a disability and that Defendant Baldwin (in his official capacity as Acting

Director of the IDOC) denied him access to Dixon’s programs and activities because of his

disability. Finally, Mr. Carter alleges that Defendants Chamberlain and Minter intentionally

inflicted emotional distress on him while he was incarcerated at Dixon.

                               PRELIMINARY STATEMENT

       1.     Plaintiff Marvin Carter, who has been deaf and mute since the age of two, is

fluent in American Sign Language (“ASL”). ASL is his best—and, in many situations, only—

effective means of communication.

       2.     Mr. Carter also suffers from sickle cell disease, a hereditary blood disorder for

which he requires careful monitoring and treatment. Due to this serious disease, Mr. Carter is

consistently at risk for various acute and chronic complications, many of which have rapid onset.

Some of these complications are potentially fatal. In order to ensure that he receives care

adequate to prevent or combat sickle cell crises, Mr. Carter requires an ASL interpreter to

convey information about complex topics related to his medical needs. Defendants were fully

aware that Mr. Carter has been diagnosed with sickle cell disease and required ASL interpreters.

       3.     Mr. Carter was incarcerated in Dixon, a medium security prison in Dixon, Illinois

within the IDOC, from mid-2015 to January 2017.          Yet, Defendants failed to reasonably

accommodate Mr. Carter’s disability. Specifically, despite Mr. Carter’s repeated requests, a

recommendation by the prison’s Americans with Disabilities Act (“ADA”) Coordinator, and

Defendants’ own frequent acknowledgement that interpreters were necessary, the Defendants

denied Mr. Carter adequate access to ASL interpreters while he was at Dixon.




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        4.    As a result of Defendants’ deliberate indifference to Mr. Carter’s serious medical

needs and their failure to provide him reasonable disability accommodations, Mr. Carter suffered

severe physical and emotional harm while at Dixon. For example, because of his sickle cell

disease, Mr. Carter developed leg ulcers, which necessitated daily bandage changes and wound

dressings.   Mr. Carter often experienced extreme pain during these bandage changes, as

Defendant Minter and others would roughly scrub or otherwise manhandle the ulcer and the

sensitive surrounding area. Because Mr. Carter was not permitted an interpreter to communicate

with the medical staff at Dixon during these dressing changes, he was unable to adequately

signal to the nursing staff his discomfort or suggest ways to minimize the pain. In short, Mr.

Carter was forced to endure excruciating treatments on a daily basis due to the inadequate

accommodation for his disability. This resulted in both physical injury and severe emotional

distress.

        5.    On at least two occasions, the Defendants’ deliberate indifference, coupled with

Defendant Baldwin’s failure to provide Mr. Carter with reasonable access to interpretive services

to facilitate his medical care, resulted in severe medical emergencies. First, in May 2016, Mr.

Carter repeatedly approached the Dixon medical staff to communicate that he was experiencing

an unusual amount of pain and worsening symptoms indicative of sickle cell crisis. His outreach

was ignored. By the time he was finally transferred to the University of Illinois at Chicago

(“UIC”) medical center, his health had deteriorated. Mr. Carter remained hospitalized for more

than a week. A second crisis, ignored by Defendants until Mr. Carter was completely non-

responsive, also resulted in hospitalization in November 2016. If Defendants had not acted with

deliberate indifference, these crises could have been mitigated or avoided altogether. Defendant

Baldwin’s failure to reasonably accommodate Mr. Carter’s disability compounded these issues.




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These crises also reflect Defendants’ Chamberlain’s and Minter’s intentional infliction of

emotional distress.

         6.    In addition, Defendant Baldwin’s failure to provide interpreters excluded Mr.

Carter from IDOC programs available to hearing prisoners and prevented him from receiving

proper medical care.     Mr. Carter was not permitted to participate in educational programs

because of his disability.

         7.    Defendants’ acts and omissions, which are described in more detail below, violate

the ADA, the Rehabilitation Act, and the Eighth and Fourteenth Amendments to the Constitution

of the United States. They also constitute infliction of emotional distress under Illinois state law.

                                         DEFENDANTS

         8.    Defendant John R. Baldwin has been Acting Director of the IDOC since in or

around August 2015 and is responsible for day-to-day operations of the IDOC. Mr. Baldwin is

sued in his official capacity.

         9.    Defendant Dr. Tim Chamberlain was an M.D. responsible for treating Mr. Carter

during his stay at Dixon.

         10.   Defendant Lisa Minter was a nurse who treated Mr. Carter during his stay at

Dixon.

         11.   Defendant Sherry Benton is a member of the Administrative Review Board of the

IDOC, who, upon information and belief, reviews final institutional decisions on inmate

grievances.

         12.   Defendant Lashard Cameron was involved with Dixon’s educational programs.

         13.   Defendant Janet Wheat was Principal of Dixon’s educational programs.

         14.   Defendant Christopher A. Barnhart was an ADA Coordinator at Dixon for all or

part of Mr. Carter’s time there.


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         15.   Defendant Max Blackburn was an ADA Coordinator at Dixon for all or part of

Mr. Carter’s time there.

         16.   Defendant Wexford Health Sources, Inc. (“Wexford”) contracts with the State of

Illinois for the provision of health care services to persons in the custody of the IDOC. On

information and belief, Wexford employed Defendant Chamberlain (and potentially other

Defendants) at all relevant times.

                                JURISDICTION AND VENUE

         17.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because:

(1) this action arises under the Constitution and laws of the United States, pursuant to 28 U.S.C.

§ 1343(a)(3); (2) Plaintiff alleges that he has been aggrieved by an act or failure to act by a

recipient of Federal assistance under 29 U.S.C. § 794; (3) Plaintiff alleges discrimination on the

basis of disability in violation of 42 U.S.C. § 12132; and (4) Plaintiff alleges that Defendants

deprived him of his rights, privileges, or immunities secured by the Constitution and Federal

laws.

         18.   In addition, under 28 U.S.C. § 1367, this Court has supplemental jurisdiction over

Mr. Carter’s state law claim because it is so related to his federal claims that they form part of

the same case or controversy under Article III of the U.S. Constitution.

         19.   On information and belief, Defendants Chamberlain, Minter, Benton, Cameron,

Wheat, Barnhart and Blackburn are individuals who live and work in and for the State of Illinois.

Defendant Baldwin is the Acting Director of an Illinois agency, the IDOC. Wexford is a

corporation incorporated under the laws of Florida, with a principal place of business in

Pittsburgh, which is registered and authorized to do business in the State of Illinois.       All

Defendants have sufficient contacts with Illinois for this Court to exercise personal jurisdiction

over them.


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       20.     Venue is proper within this district pursuant to 28 U.S.C. § 1391(b)(1) and (2),

because one or more of the Defendants reside in this district and a substantial part of the acts and

omissions giving rise to the claims occurred in this district.

                                         BACKGROUND

       A.      Defendants were deliberately indifferent to Mr. Carter’s medical needs and
               failed to accommodate his disability.

       21.     From the beginning of Mr. Carter’s time at Dixon, Defendants were aware that he

was deaf and mute. It was thus clear to Defendants that Mr. Carter required interpreters to

facilitate medical treatment, which Defendants regularly denied.

       22.     Worse still, the Defendants exhibited deliberate indifference to Mr. Carter’s pain

and to the other complications caused by his sickle cell disease—even though Mr. Carter

regularly alerted the Defendants to his symptoms, suffering and worsening condition.

       23.     The harmful effects of the Defendants’ deliberate indifference were compounded

by the Defendants’ failure to provide Mr. Carter an ASL interpreter during medical treatment.

                   i. The Defendants were aware of Mr. Carter’s serious medical needs.

       24.     Although there is no cure for most people who have sickle cell anemia, proper

treatment can help prevent the problems it causes, including the attendant pain. Prior to his

incarceration, Mr. Carter received blood transfusions as a course of treatment for his sickle cell

disease. Blood transfusion therapy is believed to reduce the risk of complications of sickle cell

disease and to reduce symptoms of severe anemia. Mr. Carter continued to require treatment for

his sickle cell disease, including blood transfusions, when he entered the care of Defendants.

Defendants Chamberlain, Minter, Benton, Barnhart, Blackburn, Wexford and Baldwin were

aware of this fact. For example, according to his medical records, on December 17, 2015, Mr.




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Carter provided a “note from a family member stating he should be getting monthly blood

transfusions for sickle cell.”

        25.     Painful, recurring, and slow-healing leg ulcers are common among individuals

with sickle cell disease. As Defendants Chamberlain, Minter, Benton, Barnhart, Blackburn,

Wexford and Baldwin were also aware, Mr. Carter had numerous ulcers on his legs and feet that

required regular wound care when he entered the care of the IDOC.

        26.     Treatment of sickle cell disease and its symptoms and side effects is a complex

proposition. Mr. Carter thus required ASL interpreters to communicate with the Dixon medical

staff to ensure that he received the medical care he needed.         Without adequate disability

accommodations, Mr. Carter would be unable to communicate his needs to the medical staff, to

inform the staff when their treatments of his disease were inadequate or causing him pain, and to

understand the self-treatment and care that the medical staff was trying to communicate to him.

                    ii. Mr. Carter repeatedly sought interpreters and requested adequate medical
                        care.

        27.     Mr. Carter frequently alerted Defendants and others at the prison both to his need

for adequate medical care and to his need for an interpreter. Accordingly, he made requests to

the prison’s ADA Coordinator—then Defendant Barnhart—for accommodations. Although he

made his first request in May 2015, it was not until October 14, 2015 that the ADA Coordinator

first met with Mr. Carter.

        28.     Mr. Carter also filed many grievances. For example, Mr. Carter filed a grievance

on October 7, 2015, writing:

                Could I please have a Deaf and Hard of Hearing
                Communication plan that is in the Department of Corrections
                rule book[.] I’m Deaf and can’t speak or hear[.] I need a
                Interpreter for sign language, a walker, hearing aids[.] I need all
                this because I have an emergency on my ankle[.] My wounds are



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                  getting [bigger] instead of healing and the doctors and nurses
                  cannot communicate with me or I with them and I’m suffering in
                  pain all the time. (emphasis added)

His request was straightforward: “To get some help as soon as possible because I’m in extreme

pain all the time.”

       29.        Other grievances highlighted the Defendants’ deliberate indifference to the pain

they were causing Mr. Carter by improperly dressing his wounds. For example, Defendant

Minter repeatedly used a dressing technique that caused Mr. Carter excruciating pain.

Accordingly, in another grievance, dated January 13, 2016, Mr. Carter wrote that he needed an

interpreter to tell them “not to put this type of type or any tape against the bare skin, because it

cause[s] pain.”

       30.        Mr. Carter submitted another grievance on January 18, 2016, writing: “I have

told the nurses that the tape they use for my dressing change hurts real bad when it is removed. I

told Nurse - Ms. [Minter] three times and she ke[pt] putting the same tape on my feet. When she

pulls it off she snatches it off and hurts me everytime.” He explained that the tape “pulls my skin

and causes a lot of pain.” He again specifically highlighted his request for accommodation: “I

am deaf so the nurse can not understand me. I need an interpreter.” (emphasis added)

       31.        Nothing changed. Mr. Carter continued to submit grievances. For example, on

July 14, 2016, Mr. Carter submitted a grievance that stated that he had “told this Nurse and all

the others every day that [he] need[ed] a[n] interpreter” yet “[o]ne still has not been provided.”

       32.        As another example, on August 4, 2016, Mr. Carter submitted a grievance

describing Defendant Minter’s conduct, writing:

                  On 8-3-16, I went to the dispensary to have the dressings changed
                  on both my ankles which is done every morning, 7 days a week
                  between 8:15-9:30. On this morning, while I was on the dressing
                  table after Nurse [Minter] cut off my bandages Dr. Chamberlin



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                 came in and looked at the infection in both of my ankles and legs.
                 After the Doctor left, Nurse [Minter] started acting angry toward
                 me by wiping my wounds so hard that I screamed. I indicated to
                 her that she was [too] hard. Then she got this cream in a white and
                 blue tube spelled Miconazole. I indicated ‘no’ and ‘it burn.’ She
                 brushed me off. I indicated again, but she started to put that
                 cream on me anyway. So I pulled my legs up to keep her from
                 putting on anymore. She grabbed me by both ankles and snatched
                 my feet to her. hurting me. She held one ankle real tight so I
                 couldn’t pull away, and she slapped the cream on my ankle and
                 started rubbing my wound real strong. I yelled again it burn, it
                 burn, it hurt. She grabbed the other one and did the same thing. I
                 cried because it hurt and burn so bad. This nurse is cruel to me
                 always and don’t care about how much pain she causes me. This
                 has been a[n] ongoing situation with this nurse. (emphasis added)

       33.       Mr. Carter’s grievances went as high as the IDOC’s Administrative Review

Board. Defendant Benton, a member of that Board, demonstrated deliberate indifference to Mr.

Carter’s serious medical needs by refusing to take action in light of the serious issues and

medical needs raised by those grievances.

       34.       Mr. Carter also frequently used other means to communicate to Defendants

Chamberlain, Minter, Barnhart, Blackburn, Wexford and Baldwin that he needed interpreters and

adequate medical care. For example:

             •   August 22, 2015: Per medical records, “[inmate] nonverbal[,]
                 motioning for nurse to pat sores + Ø rub.”1

             •   January 13, 2016: Medical records state that Mr. Carter indicated
                 to Defendants that he was “deaf and unable to effectively
                 communicate needs.”

             •   June 7, 2016: Mr. Carter was “[w]aving hands trying to direct at
                 this nurse + officer how to do the dressing,” according to his
                 medical records.

             •   June 9, 2016: Mr. Carter’s message to Defendants, as reflected in
                 his medical records: “The wounds keep getting bigger. . . . I want

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  On information and belief, at least Defendants Baldwin, Chamberlain, Minter and Wexford had access
to Mr. Carter’s medical records, which are referenced throughout this Complaint.


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                to speak with Dr. Chamberlain about the cream used on wounds
                with sign language interpreter.”

            •   June 24, 2016: Mr. Carter submitted an “Offender Request” slip
                to Defendant Blackburn, writing: “Could you please fulfill my
                ADA plan and get me an interpreter[.] I can’t communicate with
                sick call nurse[.] I have medical need[s] to be take[n] care of[.]
                Thank you very much.”

            •   July 1, 2016: According to medical records, Mr. Carter was
                “[m]aking painful gestures [complaining of] legs hurting.”

            •   July 7, 2016: In an “Offender Request” slip addressed to
                specifically Defendant Blackburn, Mr. Carter again requested the
                presence of an interpreter.

            •   July 11, 2016: Mr. Carter filled out an “Offender Request” to
                Defendants, writing:    “I need to see Dr. Chamberl[a]in
                (emergency)[.] My ankles and legs hurt real bad and the infections
                are getting worse in both of them. I need a[n] interpreter to
                explain.”

            •   August 1, 2016: In an “Offender Request” slip, Mr. Carter wrote:
                “The infections on my Ankles are getting wider and deeper
                spreading to my feet in 3 days and hurt real bad. It’s serious. I
                need interpreter to explain for me.”

            •   August 2, 2016: Mr. Carter submitted an “Offender Request” slip
                plainly stating: “I need a sign language interpreter to assist me
                when I go to sick call and when I see the Doctors, so I can
                understand what is going on, and so that med staff can understand
                me. I’ve as[k]ed the Doctor 4 times already for one.”

            •   August 24, 2016: Per his medical records, Mr. Carter was
                “requesting sign interpreter.”

            •   October 27-28, 2016: Medical records state: “Pt. pointing to back
                + making painful expression. . . . Pt. is nonverbal, holding
                stomach, heart and kidney area, squinting in pain.”

                   iii. Defendants intentionally failed to provide Mr. Carter reasonable
                        accommodation.

      35.       Defendants expressly recognized that interpreters were necessary. In response to

Mr. Carter’s January 18 grievance requesting interpreters during even routine medical


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appointments, the prison’s ADA Coordinator (then Defendant Barnhart) recognized that Mr.

Carter must be provided this accommodation. Specifically, on March 10, 2016, Defendant

Barnhart explained that “[a]ccording to Administrative Directive 04.01.111, communication

accommodations may be requested when ‘the information being relayed is complex, exchanged

for a lengthy period of time, or involves legal due process. This may include, but is not limited

to, communications such as medical and mental health services.’” Accordingly, Defendant

Barnhart directed that Mr. Carter be provided “interpreter services when the aforementioned

medical services are being provided.” On March 29, 2016, the Chief Administrative Officer

concurred.

       36.     But nothing changed.     Defendant Barnhart made no effort to implement his

direction that interpreters be provided but rather willfully ignored the continually failure to

provide these services. And, with only limited exceptions, Defendants refused to provide ASL

interpreters during Mr. Carter’s medical treatment as directed. In fact, of the hundreds of

meetings with doctors and nurses at Dixon (including scheduled meetings), an ASL interpreter

was present at only a handful.

       37.     The absence of an ASL interpreter meaningfully diminished the quality of Mr.

Carter’s medical care. When an interpreter was present, medical records show Mr. Carter was

able to convey nuanced information, and Dixon medical staff was able to tell Mr. Carter how to

best to address his problems. When an interpreter was not present, the medical records reflect

little information going back and forth between Mr. Carter and the Defendants, such as: “Non

verbal-patient showed fingers pain scale 10/10.”




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       38.     As a result, Mr. Carter did not get the information he needed to manage his own

condition. For example, on June 20, 2015, Mr. Carter did not receive his medication because

an interpreter was not present to adequately explain the process for requesting it.

                   iv. Defendants intentionally withheld medical care to Mr. Carter out of
                       deliberate indifference and because of his disability.

       39.     Numerous times, Defendants Chamberlain, Minter, Wexford and Baldwin caused

Mr. Carter to go without treatment for an extended period of time. For example, on May 22,

2015, Mr. Carter’s medical records note he was suffering from pain in his ankle but admit:

“[Inmate] not seen. [Inmate] need to utilize sign-language interpreter.” For three days, Mr.

Carter was not treated, purportedly for lack of an interpreter.

       40.     As another example, on July 15, 2016, Mr. Carter was forced to submit a

grievance because he had twice been denied medical treatment within the span of a week on

account of the lack of an interpreter. In his grievance, he wrote that on July 6, 2016 he “went to

sick call for [his] serious medical issues” but Defendant Minter refused to see him “because she

said we have no Interpreter for the deaf.” On July 11, 2016, Mr. Carter “went back to sick call

for the same issues.” This time, he came armed with a “request slip” stating “‘I need to see

Doctor’.” Again, Defendant Minter refused to treat him, citing the lack of an interpreter.

       41.     Similarly, on August 4, 2016, Mr. Carter submitted a grievance describing

another instance in which he was denied medical care for lack of an interpreter:

               “On 8-3-16 I went to sick call. When it was my turn and I came
               down the hallway to enter the Nurse Office, ‘Officer Hanraban’
               stopped me and said ‘you again, aint no interpreter.’ He put his
               foot on the back of my wheelchair and shoved it with his foot real
               hard. This is the second time this c/o shoved me in my wheelchair
               and been cruel to me. I didn’t even get to see the Nurse for my
               serious medical needs. I have Sickle Cell Anemia and very bad
               infections in both my ankles, that are very painful and won’t heal.
               This c/o interfered with my rights under the ADA to receive



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               medical care, and my right to be free of cruel and unusual
               punishment, from this c/o [whose] actions in effect denied me
               medical services and treatment because I have a disability. Also,
               this is the third time in August that I have requested a interpreter
               to [no avail], so I can understand and comprehend what the
               medical staff mean, and so that they can fully understand me.”
               (emphasis added)

       42.     Further, as discussed below, Defendants prevented Mr. Carter from receiving

blood transfusions necessary to treat his sickle cell disease.

       43.     In denying treatment to Mr. Carter, Defendants Chamberlain, Minter, Benton,

Barnhart, Blackburn, Wexford and Baldwin exhibited deliberate indifference to his medical

needs and discriminated against him on the basis of his disability.

                   v. The Defendants’ acts and omissions harmed Mr. Carter.

       44.     The harmful effects of the Defendants’ deliberate indifference and failure to

accommodate his disability manifested themselves in several ways.

       45.     For one, Defendant Minter’s approach to cleaning and dressing his wounds

caused Mr. Carter unnecessary pain and emotional trauma.

       46.     Also, Mr. Carter’s ulcers expanded dramatically, becoming larger and more

painful throughout his time at Dixon.

       47.     In addition, because of Defendants’ acts and omissions, Mr. Carter suffered two

sickle cell attacks while he was in the care of Dixon. Both required hospitalization. Both left

him near death.

       48.     The first attack—which Mr. Carter’s medical records described as an “all over

sickle cell crisis”—occurred in May 2016.          This attack resulted in nearly two weeks of

hospitalization at the University of Illinois at Chicago (“UIC”) medical center. While at UIC,

Mr. Carter was given blood transfusions for the first time since he arrived at Dixon. As his




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discharge summary from UIC succinctly noted, Mr. Carter’s health markedly improved when he

was given blood transfusions. Immediately upon returning to Dixon on May 28, Mr. Carter told

medical staff: “‘I am good.’”

        49.    In contrast, back under Defendants’ care, his condition soon worsened. As Mr.

Carter indicated to Defendants (per his medical records), “my legs are worse the infection is

spreading wide and deeper.” And: “My wound is worse.”

        50.    As his condition worsened, Mr. Carter repeatedly alerted Defendants to his need

for regular blood transfusions. For example, on July 22, 2016, Defendant Chamberlain wrote in

Mr. Carter’s medical records: “Pt stopped me in hall [and] gave me note that he thinks he needs

blood transfusions.” Similarly, on July 27, 2016, Mr. Carter’s medical records state: “Pt asking

to go to hospital for transfusion to help wounds heal.” Nonetheless, the Defendants still refused

him blood transfusions.

        51.    In October 2016, Mr. Carter had another sickle cell attack.           Defendants

acknowledged the crisis at least as early as October 27, 2016. Yet, by October 29, Mr. Carter

was still at Dixon.    Early that morning, Defendants observed Mr. Carter “grimacing” and

“squinting in pain.” Still, they did not take him to the hospital.

        52.    Hours later, in the late afternoon, Mr. Carter was found non-responsive in his

wheelchair. Per medical records, Mr. Carter “did not respond to verbal, touch” or other stimuli,

his respiration was “shallow and labored,” and he was “unable to hold head or torso upright.”

Only after observing that Mr. Carter “still [did] not respond to painful touch” did Defendants

send Mr. Carter to the hospital. (emphasis added)

        53.    Although he survived, Mr. Carter remained hospitalized off-site for more than a

week.




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       B.      Defendants Expelled Carter From Educational Programs Due To His
               Disability.

       54.     After arriving at Dixon, Mr. Carter learned that Dixon offers some inmates

educational programs. In order to participate, Mr. Carter required a sign-language interpreter.

Defendants Baldwin, Cameron and Wheat intentionally discriminated against Mr. Carter on the

basis of his disability, refusing to provide one.

       55.     Mr. Carter filed multiple grievances requesting interpreters so he could participate

in educational programs. For example, on April 6, 2016, he requested an interpreter for his

schooling, writing that the Defendants’ failure to accommodate his needs was “stopping me from

making positive moves in my life and to better myself with education.”

       56.     Nonetheless, in May 2016, Defendants informed Mr. Carter he could no longer

participate in Dixon’s educational programs.

       57.     In a May 19, 2016 “Offender Request” slip to Defendant Blackburn requesting an

interpreter for his medical care, Mr. Carter reiterated his request for an interpreter for schooling,

writing: “PS, plus I want to go to school.” Mr. Carter submitted an “Offender Request” slip to

Defendant Blackburn on June 13, 2016 following up on his request: “I would like to know

where my interpreter? You said a long tim[e] ago I would have one. I want to go back to

school.”

       58.     Mr. Carter filed another grievance on June 26, 2016. In this grievance, he

requested an “interpreter for the hear[ing] impaired be hired so I can attend school.” Mr. Carter

explained: “I was in school, but as a person with hearing impairment, I have been suspended and

not allowed to attend school anymore because the IDOC has not hired an interpreter. I have been

discriminated against because of being a young African American male with a disability.” And

he wrote: “I want and need to learn so I can better myself and further myself.”



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       59.     On July 7, 2016, Mr. Carter submitted another “Offender Request” slip to

Defendant Cameron.       This request stated:     “I wrote [Defendant] ADA Coordinator Max

Blackburn and Principal Mrs. Sheets. . . . I’m hearing impaired . . . I have not gotten my help . . .

to further education.”

       60.     On information and belief, Defendant Cameron ignored this request.

       61.     In addition, and on information on belief, Defendant Wheat ignored all such

requests.

       62.     On July 13, 2016, Mr. Carter filed another grievance, stating: “On approx. June

13-16, 2016, I was kicked out of school because there is no Interpreter for the deaf. As a result, I

am prevented from earning Good-time. I want to attend a school to rehabilitate myself and make

better. This is outright discrimination to me as an African American prisoner with disabilities.”

       63.     On August 21, 2016, Mr. Carter submitted an “Offender Request” requesting a

sign-language interpreter for school, writing: “This is my first time in prison. I haven’t been

able to earn good-time from school because there is no sign language interpreter. Please put me

in for 90 days or more of good-time. Thank you.”

       64.     Mr. Carter’s grievances and requests were denied.            Because of Defendant

Baldwin’s, Cameron’s and Wheat’s intentional discrimination, Mr. Carter was never provided an

interpreter for his education. He was therefore unable to ever return to Dixon’s educational

programs, much less complete them.

       C.      Other effects of Defendants’ actions.

       65.     Because Mr. Carter is deaf, he could not hear the oral announcements and

alarms—such as those about meals and emergency notifications—provided to hearing prison

inmates. Accordingly, Mr. Carter required another system, such as a buzzer, for these

notifications. Yet, as late as November 29, 2016, Defendants’ records stated “NEEDS AN


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ALERT WATCH!!” Defendants’ intentional failure to accommodate Mr. Carter’s disability for

all or part of his time at Dixon caused Mr. Carter harm. This, despite the fact that Mr. Carter

explicitly requested this safety measure; for example, in an “Offender Request” slip dated June

13, 2016 he wrote: “I need a watch to help me know when it time for meals, etc.”

        66.     In addition to those impacts specifically described above, the Defendants’

deliberate indifference and intentional discrimination because of his disability caused Mr. Carter

other injuries as well. In these and other ways, Mr. Carter was injured by the Defendants’

actions and omissions during his time at Dixon.

        D.      Exhaustion

        67.     Mr. Carter exhausted all administrative remedies available to him through all of

the available avenues of Dixon’s internal grievance process.

                                     CLAIMS FOR RELIEF

                                          COUNT I
                      Violation of the American with Disabilities Act
         (Defendant Baldwin in his official capacity as Acting Director of the IDOC)

        68.     Plaintiff realleges and incorporates by reference each and every allegation above

as if fully set forth herein.

        69.     Title II of the ADA states that “no qualified individual with a disability shall, by

reason of such disability, be excluded from participation in or be denied the benefits of services,

programs, or activities of a public entity, or be subjected to discrimination by any such entity.”

42 U.S. § 12132.

        70.     Defendant Baldwin is Acting Director of the IDOC, a public entity, as a

department, agency, special purpose district, or other instrumentality of the State of Illinois, as

defined in 42 U.S.C. § 12131(1).




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        71.       Defendant Baldwin is Acting Director of the IDOC, which receives federal

financial assistance.

        72.       Plaintiff is a qualified individual with a disability within the meaning of Title II of

the ADA, 42 U.S.C. § 12131(2), and has a right not to be subjected to discrimination on the basis

of their disability by Defendant Baldwin. 42 U.S.C. § 12132.

        73.       Individuals in the custody of IDOC such as Plaintiff are wholly dependent on

IDOC for medical and educational services, among other services.

        74.       The U.S. Department of Justice (“DOJ”) regulation implementing Title II of the

ADA requires the provision of effective communication, including “auxiliary aids and services”

such as “qualified interpreters.”

        75.       Plaintiff requires a qualified interpreter in order to effectively communicate.

Plaintiff required a qualified interpreter to participate in educational programs and to receive

adequate medical treatment.

        76.       Despite Plaintiff’s repeated requests, and Defendants’ acknowledgement that one

was necessary, Defendant Baldwin failed (among other failures) to provide qualified interpreters

necessary for, inter alia, Plaintiff’s medical treatment and participation in Dixon’s educational

programs.

        77.       Defendant Baldwin intentionally discriminated against Mr. Carter on the basis of

his disability.

        78.       Defendant Baldwin intentionally failed to give consideration to Plaintiff’s

requests, denying his requests for accommodations which would enable equal access to services,

benefits, activities, programs, and privileges available to hearing inmates in IDOC’s custody.




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        79.     As a proximate result of Defendant Baldwin’s violations of Plaintiffs’ rights

under the ADA, Mr. Carter suffered from discrimination, unequal treatment, exclusion from

services, benefits, activities, programs, and privileges, violations of his rights under the laws of

the United States, loss of dignity, frustration, humiliation, emotional pain and suffering, anxiety,

trauma, embarrassment, and injury to his health.

        80.     Defendant Baldwin’s failure to comply with the ADA has resulted in harm to Mr.

Carter, and Defendant Baldwin, in his official capacity as Acting Director of the IDOC, is liable

to Mr. Carter for harms suffered.

        81.     As a direct and proximate cause of Defendant Baldwin’s failure to comply with

the ADA, Mr. Carter has suffered economic damages, in an amount to be determined by a jury.



                                          COUNT II
                           Violation of the Rehabilitation Act
         (Defendant Baldwin, in his official capacity as Acting Director of the IDOC)

        82.     Plaintiff realleges and incorporates by reference each and every allegation above

as if fully set forth herein.

        83.     The purpose of the Rehabilitation Act is to ensure that no “qualified individual

with a disability in the United States . . . shall, solely by reason of [] disability, be excluded from

the participation in, be denied the benefits of, or be subjected to discrimination under any

program or activity receiving Federal financial assistance . . . .” 29 U.S.C. § 794(a).

        84.     Plaintiff is a qualified individual with a disability within the meaning of the

Rehabilitation Act. 29 U.S.C. § 705(2).

        85.     Plaintiff has a right not to be subjected to discrimination on the basis of his

disability. 29 U.S.C. § 794(a).




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       86.     Defendant Baldwin is Acting Director of the IDOC, which receives federal

financial assistance within the meaning of 29 U.S.C. § 794(a).

       87.     Defendant Baldwin is Acting Director of the IDOC, which is “program or

activity” within the meaning of 29 U.S.C. § 794(b)(1)(a)-(B) and/or (b)(2)(B), and which is

required to comply with the Rehabilitation Act.

       88.     The DOJ regulation implementing the Rehabilitation Act clarifies that

correctional facilitations must provide “appropriate auxiliary aids,” including “qualified

interpreters.” 28 C.F.R. § 42.503(f).

       89.     Defendant Baldwin violated the Rehabilitation Act by intentionally denying

Plaintiff, on the basis of his disability, the same access to services, benefits, activities, programs,

and privileges—including access to adequate healthcare services and educational programs—

provided to hearing individuals.

       90.     Defendant Baldwin also violated the Rehabilitation Act by intentionally and

discriminatorily impairing Plaintiff’s ability to communicate effectively with medical personnel

and educators by failing to provide appropriate auxiliary aids and services.

       91.     Plaintiff requires a qualified interpreter in order to effectively communicate.

Plaintiff required a qualified interpreter to participate in educational programs and to receive

adequate medical treatment.

       92.     Despite Plaintiff’s repeated requests, and Defendants’ acknowledgement that one

was necessary, Defendant Baldwin failed (among other failures) to provide qualified interpreters

necessary for, inter alia, Plaintiff’s medical treatment and participation in Dixon’s educational

programs.




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          93.   As a proximate result of Defendant Baldwin’s violations of his rights under the

Rehabilitation Act, Mr. Carter has suffered from discrimination, unequal treatment, exclusion

from services, benefits, activities, programs, and requirements, loss of dignity, frustration,

humiliation, emotional pain and suffering, anxiety, trauma, embarrassment, and injury to his

health.

          94.   Defendant Baldwin’s failure to comply with the Rehabilitation Act has resulted in

harm to Mr. Carter, and Defendant Baldwin, in his official capacity of Acting Director of the

IDOC, is liable to Mr. Carter for harms suffered.

          95.   As a direct and proximate cause of Defendant Baldwin’s failure to comply with

the Rehabilitation Act, Mr. Carter has suffered economic damages, in an amount to be

determined by a jury.



                                          COUNT III
                               Cruel and Unusual Punishment:
                     Violation of the Eighth and Fourteenth Amendments
                (Defendants Baldwin, Chamberlain, Minter, Benton, Barnhart,
                                    Blackburn and Wexford)

          96.   Plaintiff realleges and incorporates by reference each and every allegation above

as if fully set forth herein.

          97.   As an inmate in the custody of the Illinois Department of Corrections, Plaintiff

had a right to be free from cruel and unusual punishment under the Eighth Amendment to the

U.S. Constitution, which was made applicable to the states by the Fourteenth Amendment.

          98.   The rights Plaintiff alleges the Defendants violated are clearly established

statutory and/or constitutional rights of which a reasonable person would have known.

          99.   The treatment of Plaintiff by Defendants constituted cruel and unusual

punishment in violation of the Eighth and Fourteenth Amendments to the U.S. Constitution.


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          100.   Plaintiff’s medical condition is so objectively serious that the failure to provide

the needed care amounted to a constitutional deprivation.

          101.   Defendants possessed actual or constructive knowledge of the Plaintiff’s serious

medical condition.

          102.   Despite Defendants’ actual knowledge of the substantial medical and safety risks

Plaintiff faced while in their custody, they continually disregarded Plaintiff’s medical and other

needs in violation of the Eighth and Fourteenth Amendments of the U.S. Constitution.

          103.   On information and belief, Defendant Wexford maintains policies, practices, or

customs, including cost-cutting policies, that caused the violation of Plaintiff’s constitutional

rights.

          104.   On information and belief, to the extent that Wexford does not maintain

authorized policies regarding these deficiencies, they are widespread practices that, although

unauthorized, are so permanent and well-settled that they constitute customs or usages

maintaining the force of law. This is demonstrated by the series of bad acts that are outlined in

greater detail above. Further, at all relevant times, Defendant Wexford maintained actual or

constructive knowledge of these deficiencies and was deliberately indifferent to the known or

obvious consequences that would result from the same.

          105.   In the alternative, the Constitutional violations alleged herein were caused by a

policy, practice or custom of IDOC or by a decision made by an employee of the IDOC who had

final decision-making authority.

          106.   The deprivation of Mr. Carter’s rights secured to him by the Eighth and

Fourteenth Amendment to the United States Constitution was inflicted under color of state law

and pursuant to official IDOC policy, practices and procedures.




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        107.    Defendants acted with an evil motive and/or demonstrated reckless indifference to

Plaintiff’s constitutional rights.

        108.    Defendants failure to comply with the Eighth and Fourteenth Amendments of the

U.S. Constitution has resulted in harm to Plaintiff.

        109.    As a direct and proximate result of Defendants’ deprivation of Plaintiff’s Eighth

and Fourteenth Amendment rights, Plaintiff is entitled to compensatory and punitive damages

under 42 U.S.C. § 1983.

                                         COUNT IV
                                     Equal Protection:
                          Violation of the Fourteenth Amendment
                (Defendants Baldwin, Chamberlain, Minter, Benton, Cameron,
                                   Wheat and Wexford)

        110.    Plaintiff realleges and incorporates by reference each and every allegation above

as if fully set forth herein.

        111.    Under the Fourteenth Amendment of the United States Constitution, “No state

shall make or enforce any law which shall abridge the privileges or immunities of citizens of the

United States; nor shall any state deprive any person of life, liberty, or property, without due

process of law; nor deny to any person within its jurisdiction the equal protection of the laws.”

        112.    Defendants deprived Mr. Carter of his rights to equal protection of the laws, as

secured by the Fourteenth Amendment to the United States Constitution, by discriminating

against him in their application of the laws of the state of Illinois.

        113.    Defendants treated Mr. Carter differently from other Dixon prisoners and

intentionally mistreated him because he is deaf and mute.

        114.    Defendants’ mistreatment and discriminatory intent was not rationally related to a

legitimate state or penological interest.




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          115.   Defendants’ failure to comply with the Fourteenth Amendment of the United

States Constitution has resulted in harm to Mr. Carter, and Defendants are liable to Mr. Carter

for harms suffered.

          116.   The deprivation of Mr. Carter’s rights secured to him by the Fourteenth

Amendment to the United States Constitution was inflicted under color of state law and pursuant

to official IDOC policy, practices and procedures.

          117.   Defendants acted with an evil motive and/or demonstrated reckless indifference to

Plaintiff’s constitutional rights.

          118.   On information and belief, Defendant Wexford maintains policies, practices, or

customs, including cost-cutting policies, that caused the violation of Plaintiff’s constitutional

rights.

          119.   On information and belief, to the extent that Wexford does not maintain

authorized policies regarding these deficiencies, they are widespread practices that, although

unauthorized, are so permanent and well-settled that they constitute customs or usages

maintaining the force of law. This is demonstrated by the series of bad acts that are outlined in

greater detail above. Further, at all relevant times, Defendant Wexford maintained actual or

constructive knowledge of these deficiencies and was deliberately indifferent to the known or

obvious consequences that would result from the same.

          120.   In the alternative, the Constitutional violations alleged herein were caused by a

policy, practice or custom of IDOC or by a decision made by an employee of the IDOC who had

final decision-making authority.




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        121.    As a direct and proximate cause of Defendants’ failure to comply with the

Fourteenth Amendment of the United States Constitution, Mr. Carter has suffered economic

damages, in an amount to be determined by a jury.

        122.

                                             COUNT V
                            Intentional Infliction of Emotional Distress
                              (Defendants Chamberlain and Minter)

        123.    Plaintiff realleges and incorporates by reference each and every allegation above

as if fully set forth herein.

        124.    As explained above, Defendants’ conduct was extreme and outrageous.

Specifically, with respect to each of Mr. Carter’s two sickle cell attacks, Defendants knew that

Mr. Carter was in need of immediate care but, through willful and wanton conduct, failed to act.

        125.    Defendants knew that there was a high probability that their conduct—namely

their failure to provide the medical assistance necessary to treat Mr. Carter’s two sickle cell

attacks—would cause Mr. Carter severe emotional distress.

        126.    Defendants’ conduct in fact caused Mr. Carter severe emotional distress,

including extreme anxiety and fear.

                                    REQUESTS FOR RELIEF

        WHEREFORE, for all of the reasons set forth in the foregoing paragraphs, Marvin Carter

files this Complaint and requests the following relief:

        (i)     Compensatory damages sufficient to compensate Mr. Carter for physical injury,

        pain, and suffering caused by Defendants as well as emotional distress and mental

        anguish;

        (ii)    Punitive damages;

        (iii)   Attorneys’ fees; and


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        (iv)   Interest, costs, and such other relief as this Court deems appropriate.

                                        JURY DEMAND

        Mr. Carter, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by

jury.




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Date: May 16, 2017                     Respectfully submitted,


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